Case: 1:03-cr-00431-JG Doc #: 434 Filed: 10/01/13 1 of 13. PageID #: 2089




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
-------------------------------------------------------
                                                      :
STANLEY CORNELL,                                      :
                                                      :         CASE NO. 1:03-CR-431
                  Petitioner,                         :
                                                      :
vs.                                                   :         OPINION & ORDER
                                                      :         [Resolving Docs. 283, 417, 418, 424, & 425]
UNITED STATES OF AMERICA,                             :
                                                      :
                  Respondent.                         :
                                                      :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

        In February 2004, a federal jury convicted Petitioner Stanley Cornell of three drug offenses.

With permission from the Sixth Circuit in the form of a remand, Petitioner Stanley Cornell moves

the Court via a pro se Supplemental/Amended § 2255 petition for relief.1/ Cornell also requests an

evidentiary hearing. The Government opposes the petition.2/ For the following reasons, this Court

DENIES Petitioner’s motion.

                                                 I. Background

        In February 2004, Petitioner Cornell went to trial after an indictment charged him with three

drug offenses: (1) conspiracy to possess with the intent to distribute more than 50 grams of cocaine

base and/or more than five kilograms of cocaine powder; (2) possession with intent to distribute and

distribution of approximately 154 grams of cocaine; and (3) using a telephone to facilitate a drug


        1/
             Doc. 417.
        2/
             Doc. 418.

                                                          -1-
Case: 1:03-cr-00431-JG Doc #: 434 Filed: 10/01/13 2 of 13. PageID #: 2090


Case No. 1:03-CR-431
Gwin, J.

trafficking offense.3/

         On February 25, 2004, Defendant Cornell and co-defendant Norman Pomales’ jury trial

commenced in this Court.4/ At trial, Drug Enforcement Agency Special Agents Lee Lucas and John

Clayton testified for the Government.5/ Special Agent Clayton and Darrel Pinson, an informant,

testified that Cornell participated in the controlled buy of 154 grams of cocaine charged in count two

of the indictment.6/ Jason Hager, Randall Allman, Paul Sinatra, Rick Sanders, and Lance Hartman,

five persons named in the indictment as co-conspirators but not defendants, testified against Cornell

regarding the conspiracy count.7/ Furthermore, Benny Ingram, Jason Lilly, Dwayne Washington,

and Michael Richardson also testified about the conspiracy charge.8/ Defendant Cornell put on no

case-in-chief.9/ On February 27, 2004, a jury returned a verdict of guilty on all counts against

Cornell.10/

         As part of the Government’s case, Drug Enforcement Administration Agent Lee Lucas

testified against Petitioner Cornell.11/ As described, nine other witnesses also testified against

Cornell. The jury found Petitioner Cornell guilty of all three counts.12/ The Court sentenced Cornell

to life imprisonment, 360 months’ incarceration, and 48 months’ incarceration (to run



         3/
           Doc. 156.
         4/
           Doc. 153.
        5/
           See Docs. 208 at 2-50 (Trial Transcript, Vol. I); 209 at 475-516 (Trial Transcript, Vol. II).
        6/
           See Doc. 209 at 484, 544-45 (Trial Transcript, Vol. II).
        7/
           See Docs. 208 at 56-73 (Hager), 108-38 (Allman), 167-78 (Sinatra) (Trial Transcript, Vol. I); 209 at 350-62
(Sanders), 445-46 (Hartman) (Trial Transcript, Vol. II).
        8/
           See Docs. 208 at 199-209 (Ingram) (Trial Transcript, Vol. I); 209 at 246-63 (Lilly), 409-24 (Ingram), 565-73
(Washington), 587-92 (Richardson) (Trial Transcript, Vol. II).
        9/
           Doc. 210 at 621 (Trial Transcript, Vol. III).
        10/
            Doc. 156.
        11/
            See Doc. 208 at 2-50 (Trial Transcript, Vol. I).
        12/
            Doc. 156.

                                                         -2-
Case: 1:03-cr-00431-JG Doc #: 434 Filed: 10/01/13 3 of 13. PageID #: 2091


Case No. 1:03-CR-431
Gwin, J.

concurrently).13/

       Lucas gave only limited testimony that related to Cornell. During the Government’s direct

examination, Lucas’s testimony primarily dealt with co-defendant Pomales.5/ On cross examination,

Lucas testified that his first personal contact with Cornell was when Lucas arrested him.5/ Moreover,

nine people corroborated the testimony and detailed their involvement in the drug trade with

Cornell. To illustrate, Jason Lilly testified that he met Cornell in 1998 and began purchasing drugs

from him thereafter.6/ He estimated that he purchased between twenty-five and thirty kilograms of

cocaine from Cornell.7/ Lilly also stored up to five kilograms of cocaine at a time for Cornell and

saw Cornell sell cocaine to other purchasers.8/ Benny Ingram testified that he purchased cocaine

from Cornell twenty to twenty-five times in 2000.9/ He also stored more than a kilogram of cocaine

for Cornell.6/ Finally, Paul Sinatra testified that he met Cornell in 1999 and purchased four and a

half ounces of cocaine from him in 2000.7/

       Petitioner Cornell appealed to the Sixth Circuit.8/        The Sixth Circuit affirmed his

convictions.9/ On April 3, 2006, Cornell filed a writ of certiorari in the U.S. Supreme Court, which

was denied.10/



       13/
           Doc. 216.
       5/
          Doc. 208 at 2-37 (Trial Transcript, Vol. I).
       5/
          Id. at 38.
       6/
          Doc. 209 at 247-48 (Trial Transcript, Vol. II).
       7/
          Id. at 262.
       8/
          Id. at 252-53.
       9/
          Id. at 422.
       6/
          Id. at 416.
       7/
          Doc. 208 at 170-71 (Trial Transcript, Vol. I).
       8/
          Doc. 218.
       9/
          Doc. 266.
       10/
           Docs. 276; 281.
                                                        -3-
Case: 1:03-cr-00431-JG Doc #: 434 Filed: 10/01/13 4 of 13. PageID #: 2092


Case No. 1:03-CR-431
Gwin, J.
       Cornell filed a March 23, 2007 petition under 28 U.S.C. § 2255 seeking to vacate his

conviction.11/ After the Government filed an opposition and Cornell replied, Petitioner Cornell filed

an August 30, 2008 motion to supplement his § 2255 petition, for a judgment of acquittal or a new

trial, and for an evidentiary hearing.12/ Among his other requests, Petitioner Cornell sought to

include claims about prosecutorial misconduct and ineffective assistance of trial counsel based in

part on the testimony of DEA Agent Lucas.13/ The Court granted Cornell’s request to supplemental

his petition, but denied the other parts of his motion without an evidentiary hearing.14/

       Magistrate Judge William H. Baughman issued a March 17, 2009 Report and

Recommendation recommending the denial of Petitioner Cornell’s habeas petition.15/ This Court

adopted that Report and Recommendation over Petitioner Cornell’s objection.16/

       After Petitioner filed a motion to reconsider17/ that the Court denied,18/ Cornell appealed to

the Sixth Circuit.19/ In a March 26, 2012 opinion, the Sixth Circuit remanded for the limited

purposes of (1) allowing Cornell “limited discovery” regarding Agent Lucas’s role in the

“investigation and prosecution of the charges against Cornell” and (2) allowing the Court to

reconsider Petitioner Cornell’s supplemental or amended § 2255 petition “in light of the fruit of the

discovery permitted.”20/




       11/
           Doc. 283.
       12/
           Doc. 304; see also Docs. 290; 291.
       13/
           Doc. 304.
       14/
           Doc. 315.
       15/
           Doc. 330.
       16/
           Docs. 331; 341.
       17/
           Doc. 343.
       18/
           Doc. 345 (vacating a portion of its previous order to allow Petitioner a certificate of appealability).
       19/
           Doc. 346 at 1.
       20/
           Doc. 375 at 3.
                                                         -4-
Case: 1:03-cr-00431-JG Doc #: 434 Filed: 10/01/13 5 of 13. PageID #: 2093


Case No. 1:03-CR-431
Gwin, J.
       Soon thereafter, this Court reopened Petitioner’s motion.21/ Petitioner Cornell filed a motion

requesting discovery and seeking an in camera review of Agent Lucas’s “personnel file and any

other related documents that the Government deems inappropriate to this discovery request.”22/

Cornell also served the Government with interrogatories regarding Agent Lucas’s alleged

misconduct, one of which was “[a]t the time of Cornell’s criminal trial, was DEA Agent Lee Lucas

under investigation for misconduct, crime, or corruption, by any law enforcement agency, including

Internal Affairs for the agency in which Agent Lucas was employed?”23/

       The Government provided some discovery to Cornell on August 14, 2012.24/ It did not

answer the interrogatories or produce Agent Lucas’s entire personnel file. The Court issued an

August 17, 2012 order denying Petitioner’s request and directing Petitioner to file a motion under

Federal Rule of Civil Procedure 37 to seek additional discovery.25/

       Petitioner Cornell filed a September 10, 2012 motion again requesting in camera review of

Agent Lucas’s personnel file.26/ The Court issued an order partially granting the motion and directed

the Government to submit to the Court any portions of Agent Lucas’s personnel file that concerned

the investigation and prosecution of Cornell.27/ After the Government responded that there were no

such documents,28/ the Court directed the Government to conduct an additional search.29/ After doing

so, the Government reached the same conclusion.30/


       21/
           Doc. 387.
       22/
           Doc. 395.
       23/
           Doc. 417-4 at 1.
       24/
           Doc. 424-1.
       25/
           Doc. 396.
       26/
           Doc. 399.
       27/
           Doc. 401.
       28/
           Doc. 404.
       29/
           Doc. 405.
       30/
           Doc. 406.
                                                -5-
Case: 1:03-cr-00431-JG Doc #: 434 Filed: 10/01/13 6 of 13. PageID #: 2094


Case No. 1:03-CR-431
Gwin, J.
       The Court subsequently directed Cornell to file his supplemental or amended § 2255 petition,

and Petitioner Cornell filed the instant petition.31/ In this petition, he raises three grounds for relief.32/

First, he says that he received ineffective assistance of counsel when his counsel failed to investigate

an individual named Darren Pinson, who, according to other trial witnesses, bought cocaine from

Petitioner.33/ Second, Petitioner Cornell says that his counsel was ineffective when counsel failed

to conduct an independent investigation into the credibility of Government witnesses and did not

discover impeachment evidence that could have been used against certain Government witnesses,

including Agent Lucas.34/ Third, Petitioner Cornell says that the Government denied him a fair trial

and violated his constitutional rights when it withheld from the defense impeachment evidence

concerning Agent Lucas.35/ Cornell says this action violates Brady v. Maryland.36/ The Government

opposes Petitioner’s supplemental § 2255 petition.37/

                                              II.Legal Standard

        Section 2255 gives a federal prisoner post-conviction means of collaterally attacking a

conviction or sentence that he alleges is in violation of federal law.38/ Section 2255 provides four

grounds upon which a federal prisoner may challenge his conviction or sentence:

                  1) That the sentence was imposed in violation of the Constitution or
                  laws of the United States;
                  2) That the court was without jurisdiction to impose such sentence;
                  3) That the sentence exceeded the maximum authorized by law; or



        31/
            Docs. 411; 417.
        32/
            Doc. 417.
        33/
            Id. at 1-6.
        34/
            Id. at 6-7.
        35/
            Id. at 7-9.
        36/
            Id.; see also 373 U.S. 83 (1963).
        37/
            Doc. 418.
        38/
             See In re Gregory, 181 F.3d 713, 714 (6th Cir.1999).
                                                        -6-
Case: 1:03-cr-00431-JG Doc #: 434 Filed: 10/01/13 7 of 13. PageID #: 2095


Case No. 1:03-CR-431
Gwin, J.
               4) That the sentence is otherwise subject to collateral attack.39/

         To prevail on a § 2255 motion alleging a constitutional error, the movant “must establish an

error of constitutional magnitude which had a substantial and injurious effect or influence on the

proceedings.”40/ Meanwhile, to prevail on a § 2255 motion alleging non-constitutional error, the

movant must establish a “‘fundamental defect which inherently results in a complete miscarriage

of justice,’ or, an error so egregious that it amounts to a violation of due process.”41/

         The decision to grant a habeas petitioner’s request for an evidentiary hearing is left to the

sound discretion of the district court.42/ ” A hearing is unnecessary if the movant’s allegations

cannot be accepted as true because they are contradicted by the record, are inherently incredible, or

are conclusions rather than statements of fact.43/ “[I]f the record refutes the applicant’s factual

allegations or otherwise precludes habeas relief, a district court is not required to hold an evidentiary

hearing.”44/

                                                      III. Analysis

A.       Limited Scope of Remand

         As a threshold issue, Petitioner Cornell’s Supplemental/Amended § 2255 Motion goes

beyond the scope of the Sixth Circuit’s remand. In general, the scope of court of appeals’ remand

binds the district court.45/ To properly assess the scope of the remand, a district court must examine


         39/
               Hill v. United States, 368 U.S. 424, 426-27 (1963); 28 U.S.C. § 2255.
         40/
               Watson v. United States, 165 F.3d 486, 488 (6th Cir.1999) (citing Brecht v. Abrahamson, 507 U.S. 619, 637-
38 (1993)).
         41/
              United States v. Ferguson, 918 F.2d 627, 630 (6th Cir.1990) (citing Hill, 368 U.S. at 428).
         42/
              Schriro v. Landigrand, 550 U.S. 465, 473-74 (2007) ( “In deciding whether to grant an evidentiary hearing,
a federal court must consider whether such a hearing could enable an applicant to prove the petition’s factual allegations,
which, if true, would entitle the applicant to federal habeas relief.”)
          43/
              Arredondo v. United States, 178 F.3d 778, 782 (6th Cir. 1999).
          44/
              Schriro, 550 U.S. at 474.
          45/
              See United States v. Campbell, 168 F.3d 263, 265 (6th Cir. 1999).
                                                            -7-
Case: 1:03-cr-00431-JG Doc #: 434 Filed: 10/01/13 8 of 13. PageID #: 2096


Case No. 1:03-CR-431
Gwin, J.
the appellate court’s language to assess whether the appellate court issued a limited or general

remand.46/

       Here, the Sixth Circuit specified that the Court must “allow Cornell to engage in limited

discovery relating to Lucas’s participation in the investigation and prosecution of the charges

against Cornell” and “reconsider the motion to supplement or amend the § 2255 motion in light

of the fruit of the discovery permitted.” Therefore, the Court need only consider the merits of

Petitioner Cornell’s claims that involve Agent Lucas and employ the new discovery.

B.     Grounds for Relief Regarding Agent Lucas

       Petitioner Cornell raises two grounds for relief that involve Agent Lucas. First, he says that

his counsel was ineffective when he “failed to conduct an independent investigation” of Agent Lucas

and failed to obtain “a ton of impeachment evidence contained in Government files.”47/ Cornell says

that counsel could have used this evidence both to impeach Agent Lucas and to question other

witnesses who Agent Lucas may have influenced.48/ Second, Petitioner Cornell says that the

Government denied him a fair trial, violated Brady, and violated his constitutional rights when it

“deliberately withheld impeachment evidence” regarding Agent Lucas.49/

       The Court finds that both arguments lose. Instead of focusing on Agent Lucas’s participation

in the investigation and prosecution of Cornell as the Sixth Circuit’s remand permitted, Petitioner

Cornell’s supplemental petition focuses on what he calls impeachment evidence involving Agent

Lucas. This focus puts Cornell’s supplemental petition outside the scope of the Sixth Circuit’s

remand.


       46/
           United States v. O’Dell, 320 F.3d 674, 679-80 (6th Cir. 2003).
       47/
           Doc. 417 at 6-7.
       48/
           Id.
       49/
           Id. at 7-9.
                                                       -8-
Case: 1:03-cr-00431-JG Doc #: 434 Filed: 10/01/13 9 of 13. PageID #: 2097


Case No. 1:03-CR-431
Gwin, J.
       Even if his supplemental petition fell within the appropriate scope, however, Petitioner

Cornell does not point to any evidence uncovered during the round of discovery that supports his

claims. Cornell cites the Indictment of Agent Lucas as evidence of “Agent Lee Lucas [being] under

investigation for conduct that constituted corruption in his official compacity [sic] as a law

enforcement agent” during the time “[p]rior to, and during Cornell’s criminal jury trial.”50/ This

makes no sense. The Government indicted Agent Lucas in May 2009, over five years after a jury

convicted Cornell.51/ And, the earliest conduct the Lucas indictment describes is in 2005, long after

Cornell’s conviction.52/

       In addition to relying on the indictment, Petitioner Cornell simply states that “the prosecution

was aware that DEA Agent Lee Lucas was under investigation for corruption in his official capacity,

and that Agent Lee Lucas’s personnel file contained impeachment evidence in which the prosecution

was required to disclose to the defense.”53/ Cornell provides nothing to support this assertion. And,

Cornell himself implicitly admits he does not have support when he says that the Government

refused to answer his interrogatories – one of which specifically inquired about whether Agent

Lucas was under investigation for misconduct at the time of Cornell’s criminal trial.54/

       Without evidence that an investigation of Agent Lucas existed at the time of (or before) his

criminal trial, Cornell is unable to make a showing of either an ineffective assistance of counsel

claim or a Brady violation.

       1.       Reasonable Behavior By Counsel



       50/
           Id.
       51/
           Doc. 419-1.
       52/
           Id.
       53/
           Doc. 417 at 8.
       54/
           Id.; Doc. 417-4.
                                                 -9-
Case: 1:03-cr-00431-JG Doc #: 434 Filed: 10/01/13 10 of 13. PageID #: 2098


 Case No. 1:03-CR-431
 Gwin, J.
        Under Strickland v. Washington,55/ to prevail on an ineffective assistance of counsel claim

 in habeas a petitioner must first show that his counsel’s performance was deficient.56/ A defendant’s

 counsel performs deficiently when counsel’s performance falls short of the norms of the legal

 profession.57/ In ineffective assistance of counsel claims, the court’s review of counsel’s conduct

 is highly deferential and “indulge[s] a strong presumption that counsel’s conduct falls within the

 wide range of reasonable professional assistance.”58/ Thus, the burden falls upon the defendant to

 demonstrate that “counsel’s representation fell below an objective standard of reasonableness.”59/

          Petitioner Cornell does not make such a showing. Here, Petitioner Cornell presents no

 evidence to show that trial counsel should have performed an “an independent investigation of

 Agent Lucas” to avoid falling below an objective standard of reasonableness. Recall that Petitioner

 Cornell has presented no evidence that Agent Lucas committed misconduct prior to 2005. Recall that

 he has presented no evidence that the Government conducted an investigation of Agent Lucas prior

 to 2005. And, recall that he has presented no evidence that Agent Lucas inappropriately influenced

 or coerced witnesses at Petitioner’s own trial. And, recall that Agent Lucas gave almost no testimony

 related to Cornell – other witnesses gave the damning testimony.

          Suggesting that trial counsel should have specifically investigated Agent Lucas when no

 evidence exists to suggest that at the time of Cornell’s criminal trial anyone knew of Agent Lucas’s

 supposed “long history of given sworn false testimony and improperly using and coercing

 confidential informant’s [sic] and witnesses” is nonsensical. Such an omission cannot be the basis


          55/
              466 U.S. 668, 687, 694 (1984).
          56/
              Id. (holding that to prevail on a habeas claim that counsel’s assistance was constitutionally ineffective, a
 movant must satisfy a two-pronged test by showing (1) that counsel’s performance was deficient and (2) that this
 deficient performance prejudiced the defendant).
          57/
              United States v. Morrow, 977 F.2d 222, 229 (6th Cir. 1992).
          58/
              Whiting v. Burt, 395 F.3d 602, 616 (2005) (citing Strickland, 466 U.S. at 689 ).
          59/
              Strickland, 466 U.S. at 688.
                                                          -10-
Case: 1:03-cr-00431-JG Doc #: 434 Filed: 10/01/13 11 of 13. PageID #: 2099


 Case No. 1:03-CR-431
 Gwin, J.
 for an ineffective assistance of counsel claim. The Court therefore finds that Petitioner’s first

 ground for relief relating to Agent Lucas fails.

          2.       No Prosecutorial Misconduct

          Under Brady, Petitioner must demonstrate as a threshold matter that the State withheld

 evidence from the defense and violated its obligations.60/ Once again, Petitioner Cornell has not

 made such a showing. Recall that Petitioner does not present any evidence that the United States

 knew of Agent Lucas’s misconduct at the time of Cornell’s trial. Recall that Cornell has not even

 shown that such evidence of Agent Lucas’s misconduct existed at the time of his trial. Without such

 evidence, Petitioner Cornell cannot demonstrate that the State withheld Brady material. The Court

 finds that Petitioner’s second ground for relief relating to Agent Lucas also fails.

          3.       No Prejudice

          In this case, even if Petitioner Cornell could demonstrate that relevant evidence of Agent

 Lucas’s misconduct existed, Cornell’s claims fail because he cannot show that the lack of disclosure

 or use of such evidence prejudiced his trial. Both the Strickland test for ineffective assistance of

 counsel claims and the standard for Brady violations require that a Petitioner establish a reasonable

 probability of a different outcome at trial.61/

          The Court finds that Petitioner Cornell does not show sufficient evidence to overcome this

 high burden. Even if the Government had disclosed evidence about Agent Lucas’s conduct and

 even if counsel had investigated Agent Lucas, it is highly unlikely that the jury would have decided


          60/
               Kyles v. Whitley, 514 U.S. 419, 432-34 (1995) (holding that to prevail on a Brady claim in habeas, a
 petitioner must demonstrate that (1) the state withheld evidence from the defense at trial and the evidence was (2)
 material and (3) favorable.); Brady v. Maryland, 373 U.S. 83, 87 (1963) (same).
           61/
               See Kyles, 514 U.S. at 433 (holding that evidence is “material” for Brady purposes “if there is a reasonable
 probability that, had the evidence been disclosed to the defense, the result of the proceeding would have been
 different”).; Strickland, 466 U.S. at 687, 694 (holding that to establish prejudice satisfying the second prong of the test
 for ineffective assistance of counsel a defendant must show that “there is a reasonable probability that, but for counsel’s
 unprofessional errors, the result of the proceeding would have been different”).
                                                           -11-
Case: 1:03-cr-00431-JG Doc #: 434 Filed: 10/01/13 12 of 13. PageID #: 2100


 Case No. 1:03-CR-431
 Gwin, J.
 differently. Agent Lucas played a limited role at Petitioner Cornell’s trial.62/ Agent Lucas’s

 misconduct does not specifically involve his work on Cornell’s case. And, nine other witnesses

 testified at length about Cornell’s role in the drug conspiracy.63/ Even if Petitioner Cornell had

 evidence of Agent Lucas’s misconduct coinciding with the timing of Cornell’s trial, it is not likely

 that the jury would have acquitted Cornell.64/ Therefore, Petitioner Cornell does not show prejudice.



                                                III. Conclusion

         For the foregoing reasons, the Court finds that Petitioner Cornell’s habeas claims fail and

 DENIES Petitioner’s supplemental § 2255 motion. The Court further finds that no hearing is

 necessary in the instant matter, as the record of the case conclusively shows that Cornell is not

 entitled to relief.65/

         Furthermore, the Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an appeal from this

 decision could not be taken in good faith, and that there is no basis upon which to issue a certificate




         62/
             Docs. 208 at 2-50 (Trial Transcript, Vol. I); 357 at 2-3.
         63/
             Doc. 357 at 2-3; see also supra pp. 2-3.
         64/
             See Doc. 357 at 2-3.
         65/
             See Schriro, 550 U.S. at 474 (“[I]f the record refutes the applicant’s factual allegations or otherwise
 precludes habeas relief, a district court is not required to hold an evidentiary hearing.”).
                                                       -12-
Case: 1:03-cr-00431-JG Doc #: 434 Filed: 10/01/13 13 of 13. PageID #: 2101


 Case No. 1:03-CR-431
 Gwin, J.
 of appealability.66/

        IT IS SO ORDERED.



 Dated: October 1, 2013                                            s/       James S. Gwin
                                                                   JAMES S. GWIN
                                                                   UNITED STATES DISTRICT JUDGE




        66/
              28 U.S.C. § 2253(c); Fed. R. App. P. 22(b).
                                                            -13-
